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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LAURIE-JO STRATY, TEXAS ALLIANCE
FOR RETIRED AMERICANS and BIGTENT
CREATIVE,

                   Plaintiffs,
                                                      Civil Action No. 1:20-cv-1015
vs.
                                                      Related to:
GREGORY ABBOTT, in his official capacity              Texas League of United Latin American
as Governor of the State of Texas; and RUTH           Citizens v. Abbott, No. 1:20-cv-1006
HUGHS, in her official capacity as Texas
Secretary of State,

                   Defendants.



         PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
                      AND PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs Laurie-Jo Straty, Texas

Alliance for Retired Americans, and Bigtent Creative, for the reasons set forth in the memorandum

of law filed concurrently with this Motion, as supported by the exhibits and declarations submitted

therewith, respectfully move for an order:

       (1) temporarily restraining Defendants, and their respective agents, officers, employees,
       and successors, and all persons acting in concert with each or any of them, from taking any
       action to inhibit election administrators from offering more than one drop-off location for
       ballots in their respective counties;

       (2) preliminarily enjoining Defendants and their respective agents, officers, employees,
       and successors, and all persons acting in concert with each or any of them, from taking any
       action to inhibit election administrators from offering more than one drop-off location for
       ballots in their respective counties; and

       (3) granting such other or further relief as the Court deems just and proper.
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       Plaintiffs have not conferred with Defendants because Defendants’ counsel have not

appeared in this case. Plaintiffs filed their complaint on Friday, October 2, and the Court has not

yet issued the summonses.

Dated: October 5, 2020                            Respectfully submitted,

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                              *Pro hac vice applications pending
                              **Pro hac vice applications forthcoming




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